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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


UNITED STATES OF AMERICA             )
                                     )
            v.                       )     Cause No. 2:21-CR-144
                                     )
AARON WHITE                          )     UNDER SEAL


      AMENDED WRIT OF HABEAS CORPUS AD PROSEQUENDUM


TO:   Sheriff                        and   United States Marshal
      Lake County Jail                     Northern District of Indiana
      2293 North Main Street                    Hammond, IN
      Crown Point, IN 46307

GREETINGS:

      The Court having set this cause for an initial appearance on November

12, 2021, at 1:00 p.m. (prevailing time) and being advised that said defendant,

is in the lawful custody and control of the Sheriff, Lake County Jail, 2293 North

Main Street, Crown Point, IN 46307,

      It is ORDERED and ADJUDGED that said Sheriff, Lake County Jail,

2293 North Main Street, Crown Point, IN 46307, be required and is hereby

commanded to surrender the body of the defendant to the United States

Marshal for the Northern District of Indiana, or any duly authorized deputy,

or any authorized Marshal, for the purpose of producing the body of the said

defendant in the United States District Court for the Northern District of
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Indiana, 5400 Federal Plaza, Hammond, Indiana 46320, on the date and time

specified above so that the said defendant may be present for further

proceedings in a cause now pending against him in said Court and, pending

the final disposition of this cause, including sentencing, if any, thereafter to be

turned over by the United States Marshal for the Northern District of Indiana

to the custody of those persons at that time thereto entitled, under safe and

secure conduct and have you then and there this Writ.

      Date: November 3, 2021



                                      /s/ Andrew P. Rodovich
                                      Honorable Andrew Rodovich
                                      United States Magistrate Judge




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